Case 8:22-mj-00041-DUTY Document1 Filed 01/11/22 Page1ofi Page ID#:1

 

FILED
CLERK, U.S. DISTRICT COURT

1 1 2022

CENTRAL DISTRICT OF CALIFORNIA
BY DiA DEPUTY

 

 

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

B: 22 -my- 41 -OUTY

PLAINTIFF(S)

 

 

TL Kwon Cua Chung

DEFENDANT(S).

DECLARATION RE
OUT-OF-DISTRICT WARRANT

 

 

 

 

 

 

 

 

The above-named defendant was charged by: lace mot

in the Ceara Districtof Cali feraie- on 30/21] 2022.
at [Ja.m./[]p.m. The offense was allegedly committed on or about

in violation of Title iF U.S.C., Section(s) J] $977 +1344

to wit: (onsp iLaoy te gammis benk frowd pl beat tek

 

A warrant for defendant’s arrest was issued by:

 

Bond of $ was [] set /[[] recommended.

 

Type of Bond:

Relevant document(s) on hand (attach):

 

I declare under penalty of perjury that the foregoing is true and correct.

Executed on ik ( [Zo22

 

 

 

 

Date
i =e ;
a Char Lath paticn
Signature of Agent Print Name of Agent
Lh l- CL Saccel As-r+
Agency Title

 

CR-52 (03/20) DECLARATION RE OUT-OF-DISTRICT WARRANT
